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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA,


       v.                                                      DECISION AND ORDER
                                                                   14-CR-214S (14)

THOMAS HAKEEM,

                            Defendant.




       1.     Presently before this Court is Defendant Thomas Hakeem’s motion to

enforce his plea agreement. On October 5, 2015, Defendant appeared before this Court

and pled guilty to violating 21 U.S.C. § 846 (conspiracy to possess with intent to distribute,

and distribution of, cocaine base).          The plea agreement reflects Defendant’s

understanding that the maximum penalty that could be imposed at sentencing includes a

twenty-year term of imprisonment and a fine of $1,000,000. (Plea Agreement ¶ 1, Docket

No. 156.) The agreement also includes a cooperation section, pursuant to which the

Government agreed to make a motion at sentencing for a two level downward departure

pursuant to § 5K1.1. However, if “the government believes the defendant has violated

any of the conditions” of the cooperation agreement, including a requirement that

Defendant not commit any further crimes prior to sentencing, then “the government . . .

reserves the right . . . to modify any recommendation the government agreed to make in

a motion pursuant to Guidelines§ 5K1.1.” (Id. at ¶¶ 25-26.)

       2.     On August 31, 2017, Defendant was arrested by the Lackawanna Police

Department and charged with Assault in the Third Degree (a Class A Misdemeanor) and

Harassment in the Second Degree – Physical Contact (a violation of Penal Code 240.26-


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01). The arrest report from that date states that Defendant grabbed his ex-girlfriend by

the neck and threw her to the ground, then threw her 82-year-old father to the ground

when he tried to intercede. The ex-girlfriend was transported to the hospital by ambulance

and both victims suffered minor injuries. On September 6, 2017, Defendant appeared

before Magistrate Judge Schroeder who, based on this arrest, revoked Defendant's bail

and remanded him to the custody of the U.S. Marshals Service. Two days later, on

September 8, 2017, the Government filed a notice that it did not intend to make a motion

for sentencing-related relief pursuant to Sentencing Guidelines § 5K1.1 and the terms of

the plea agreement. (Docket No. 500.)

      3.     Defendant denies the allegations associated with the August 31, 2017

incident and states that the charges are still pending in the City of Lackawanna Court. He

has moved this Court for an order compelling the Government to honor the plea

agreement and for a pre-sentence hearing. (Docket No. 515.) “[T]he Government has

broad discretion to judge whether a defendant violated the terms of such an agreement-

and therefore to decide whether a defendant still merits a § 5K1.1 motion.” United States

v. Willis, 118 F. App’x 570, 572 (2d Cir. 2004). This Court applies a three-part procedure

for review of the government’s decision not to file a 5K motion. See United States v. John

Doe, No. 10 CR 107(ILG), Mem. & Order at 2-3 (E.D.N.Y. July 23, 2013). First, the

defendant must allege bad faith conduct by the government. Id. (citing United States v.

Knights, 968 F.2d 1483, 1487 (2d Cir. 1992)). Then, “the government may rebut this

allegation by explaining its reasons for refusing to depart,” which may not include “pre-

agreement circumstances as reasons for not moving.” Id. (quoting Knights, 968 F.2d at

1487-88). Finally, “[i]f the government explains its reasons, the defendant must ‘make a



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showing of bad faith to trigger some form of hearing on that issue.’” Id. (quoting United

States v. Imtiaz, 81 F.3d 262, 264 (2d Cir. 1996)). If the government has provided a

neutral explanation for its denial, “[u]nless the government’s reasons are wholly

insufficient or unless the defendant’s version of events, supported by at least some

evidence, contradicts the government's explanation, no hearing is required.” Imtiaz, 81

F.3d at 264.

      4.       Here, Defendant does not argue bad faith in the Government’s decision not

to file the motion, he simply denies the allegations in the arrest report. However, under

Second Circuit precedent, the Government may rely on such an arrest report to support

a good faith belief that a defendant committed a further crime in breach of his or her

cooperation agreement. See United States v. Robinson, No. 08 CR. 976 (NRB), 2015

WL 8073757, at *4 (S.D.N.Y. Dec. 4, 2015) (citing Willis, 118 F. App’x at 572 (2d Cir.

2004) (“In the absence of any showing that the Government was acting in bad faith, the

fact that [defendant] was arrested on charges of murder, abusing corpses, and credit card

fraud provided sufficient justification for the Government to determine that [defendant]

violated the terms of the agreement and, hence, for the Government's decision to withhold

its § 5K1.1 motion.”); United States v. Gregory, 245 F.3d 160, 164 (2d Cir. 2001)

(endorsing the decision of the district court to allow the Government to revoke its

cooperation agreement based on the Government's good-faith reliance on “the

undisputed fact that [the defendant] was arrested as well as on information provided in

the arrest warrant, warrant application, and related reports”)). The Second Circuit has

expressly rejected the argument that, because a defendant has yet to be convicted on

such an arrest, that “the Government's efforts to withhold its § 5K1.1 motion [are]



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premature.” Willis, 118 F. App’x at 572.

       5.     Accordingly, because the Government has provided a neutral explanation

for its decision not to file the § 5K1.1 motion that is supported by the arrest report, and

because the Defendant has not rebutted that explanation with any allegation of bad faith,

no hearing is required and sentencing will go forward as scheduled. See Imtiaz, 81 F.3d

at 264.



       IT HEREBY IS ORDERED, that Defendant Thomas Hakeem’s motion to enforce

his plea agreement (Docket No. 515) is DENIED;

       FURTHER, that the Government’s motion to file its response under seal (Docket

No. 538) is GRANTED;

       FURTHER, that sentencing will take place as scheduled on January 17, 2018 at

9:00 a.m.

       SO ORDERED.

       Dated: December 4, 2017
       Buffalo, New York
                                                        /s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                      United States District Judge




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